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NOT FOR PUBLICATION

                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY
                               CAMDEN VICINAGE

________________________
                                     :
ERIC M. RICHARDSON,                  :
                                     :           Civ. No. 19-21107 (RMB)
                     Petitioner      :
                                     :
          v.                         :           MEMORANDUM AND ORDER
                                     :
DAVID E. ORTIZ,                      :
                                     :
               Respondent            :
________________________             :


        Petitioner     Eric   M.   Richardson   is   a   prisoner    who   was

incarcerated in the Federal Correctional Institution in Fort Dix,

New Jersey when he filed a Petition for Writ of Habeas Corpus under

28 U.S.C. § 2241, challenging his loss of good time credits as a

sanction following a prison disciplinary hearing in the United

States Penitentiary Hazelton (“USP Hazelton”) in Bruceton Mills,

West Virginia. (Pet., ECF No. 1.) Petitioner filed a Motion for

Amendment of his petition on April 29, 2020 (Mot. for Amendment,

Dkt. No. 7), and a Motion for Summary Judgment on June 9, 2020

(Mot. for S.J., Dkt. No. 8), and Respondent timely filed an Answer

on June 25, 2020. 1 (Answer, Dkt. No. 9.) For the reasons discussed


1 By Order dated April 13, 2020 (Dkt. No. 5), the Court directed
Respondent to file an answer to the petition within 45 days.
However, Standing Order 20-04 was in effect in the District of New
Jersey from March 24, 2020 through April 30, 2020, which extended
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below, the Court will grant Petitioner’s Motion for Amendment and

dismiss      Petitioner’s     Motion     for      Summary   Judgment    without

prejudice.

I.      BACKGROUND

        Petitioner    is   serving   a       180-month   sentence   imposed   on

December 1, 2010, in the United States District Court for the

District of Maryland, for conspiracy to distribute and possess

with intent to distribute a controlled substance, in violation of

21 U.S.C. § 846. Declaration of Marisa Nash 2 (“Nash Decl.”), Ex.

A (Public Information Inmate Data) at 2, Dkt. No. 9-3 at 3.) If

Petitioner receives all good conduct time currently available to

him, his projected release date is April 16, 2022. (Id., Ex. A at

3.)

II.     PETITIONER’S MOTION FOR AMENDMENT

        In his Motion for Amendment, Petitioner alleges that on

February 7, 2019 at USP Hazelton, staff members Ashley and Simms

conducted unauthorized strip searches on himself and eleven other




the time for Respondent to answer by 45 days, until July 13, 2020,
due to delays caused by the COVID 19 pandemic. See IN RE:
ADDITIONAL MEASURES DUE TO THE EXIGENT CIRCUMSTANCES CREATED BY
COVID-19, Standing Order 20-04 (D.N.J. Mar. 24, 2020) available at
www.dnj.uscourts.gov.

2 Marisa Nash is a Senior Attorney employed by the United States
Department of Justice, Federal Bureau of Prisons, at the Northeast
Regional Office, who has access to BOP records kept in the ordinary
course of business. (Nash Decl., ¶1, Dkt. No. 9-2.)

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inmates between 7:58 and 8:28 p.m. (Mot. for Amendment, Dkt. No.

7 at 2-3.) Petitioner alleges he informed Ashley that forcing him

to bend over and spread his butt cheeks violated his religious

beliefs. (Id. at 3.) Petitioner alleges Ashley threatened to use

force against Petitioner if he did not comply. (Id.) Petitioner

then threatened to inform Captain Howard of the incident. (Id.)

Petitioner    alleges      that    he    and     other   eleven    inmates     were

unnecessarily strip searched. (Id.) Petitioner further alleges

that video from security cameras would refute Ashley’s allegation

that    Petitioner   had    been    acting       abnormally.      (Id.)   Instead,

Petitioner claims that Ashley falsified the incident report as a

result of their dispute over the strip search. (Id.)

       Next, Petitioner describes an alleged incident that took

place before his DHO hearing on March 13, 2019. (Id. at 4.) He

alleges    that   staff    member       Simms,    who    was   involved   in    the

unauthorized strip search, worked in the Special Housing Unit where

Petitioner was housed, and that she spoke to the DHO before the

hearing. (Id.) Petitioner alleges the DHO then falsely claimed

that Petitioner’s requested witnesses could not appear at the

hearing for security reasons, and that the DHO withheld five

witness statements prepared for the hearing. (Id.)

       While Petitioner may not raise a First Amendment retaliation

claim or other constitutional claims for damages or injunctive



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relief in a habeas petition, 3 Petitioner may assert a factual

dispute over the circumstances that led a staff member to file an

incident report against him and may also make factual allegations

regarding the DHO’s partiality. The Court will grant Petitioner’s

Motion for Amendment and direct Respondent to answer these claims

in Petitioner’s Motion for Amendment. See Federal Rule of Civil

Procedure 15(a)(1)(B) (“A party may amend its pleading once as a

matter of course” if the pleading is one to which a responsive

pleading     is   required,   21   days       after   service   of   a   responsive

pleading….”)

III. PETITIONER’S MOTION FOR SUMMARY JUDGMENT

        Petitioner also filed a Motion for Summary Judgment. (Mot.

for S.J., Dkt. No. 8.) Petitioner’s Motion for Summary Judgment

did not comply with Local Civil Rule 56.1, which requires, in

relevant part:

              (a) Statement of Material Facts Not in Dispute

              On motions for summary judgment, the movant
              shall furnish a statement which sets forth
              material facts as to which there does not
              exist a genuine issue, in separately numbered
              paragraphs citing to the affidavits and other

3 See Cardona v. Bledsoe, 681 F.3d 533, 537 (3d Cir. 2012)
(jurisdiction under § 2241 is proper where a prisoner challenges
“that BOP's conduct was somehow inconsistent with a command or
recommendation in the sentencing judgment” or “his claim is a
challenge to the length of his confinement[.]”)




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            documents submitted in support of the motion.
            A motion for summary judgment unaccompanied by
            a statement of material facts not in dispute
            shall be dismissed.

District of New Jersey, Local Civil Rule 56.1(a) (emphasis added).

     The    Court   will    dismiss       Plaintiff’s     motion    for    summary

judgment without prejudice. The Court notes that any challenges to

the DHO’s finding of guilt and Petitioner’s loss of good conduct

time as a sanction may not be asserted for the first time in a

motion for summary judgment. Further, if Petitioner wishes to bring

claims concerning his conditions of confinement, such as denial of

outdoor    recreation     time    or    other   conditions    related      to   his

confinement in the Special Housing Unit, such claims must be

brought in a civil rights action rather than a petition for writ

of habeas corpus. See supra n. 3.

     Under Habeas Rule 8, courts may resolve a habeas petition

after reviewing the answer, any transcripts and records of state-

court   proceedings,      and    any    materials   submitted      under   Rule   7

(expanding the record) if an evidentiary hearing is unwarranted.

After Respondent answers the amended petition, the Court will

determine whether an evidentiary hearing is required to resolve a

factual dispute. A summary judgment motion is unnecessary to obtain

resolution    of    the    habeas      petition,    as   amended.    Petitioner,

however, is not precluded from filing a motion for summary judgment

that is in compliance with Local Civil Rule 56.1. See § 2254 Habeas


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Rule 12 (Federal Rules of Civil Procedure that do not conflict

with the Habeas Rules may be applied in habeas proceedings).

     IT IS therefore on this 14th day of October 2020,

     ORDERED that Petitioner’s Motion for Amendment (Dkt. No. 7)

is GRANTED; Respondent shall file an amended answer responding to

the factual disputes raised in the Motion for Amendment within

fourteen days of the date of entry of this Order; Petitioner may

file a reply to the amended answer within 14 days of service of

the amended answer, and it is further

     ORDERED   that   the   Clerk   shall   administratively     terminate

Petitioner’s   Motion    for   Summary   Judgment    (Dkt.   No.   8)   for

noncompliance with Local Civil Rule 56.1; and it is further

     ORDERED that the Clerk shall serve a copy of this Order on

Petitioner by regular U.S. mail.




                                         s/Renée Marie Bumb
                                         RENÉE MARIE BUMB
                                         United States District Judge




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